Case 4:18-cv-04412 Document 127-1 Filed on 10/04/19 in TXSD Page 1of5

JOHN SAIN, Pro Se RECEIVED IN CHAMBERS
TDCI ID# 01373168 a

O.L. Luther Unit (P2) SEP 30 2019

1800 Luther Dr.

LEE H. ROSENTHAL

Navasota, TX 77868-4714 CHIEF U.S. DISTRICT JUDGE

September 3, 2019

Clerk of Courts Clerk of Courts
515 Rusk Street or P.O. Box 61010
Houston, Tx 77002 Houston, Tx 77208

Re: Civil Action No. 4:18-cv-04412
Style: Plaintiffs’ Motion and Notice

 

Dear Clerk,
Please find included and file the below:
NOTICE TO APPEAL
Please bring these filings to the attention of the Court for a hearing and rulings.
Thank you for your assistance filing and initiating this Motion.

For questions and immediate assistance filing, please phone Tim Sain @ 817-307-9087 or @
T.Sain@yahoo.com

I can be contacted at the address listed above.

Respectfully,

Lf Aue

OHN SAIN, Pro Se

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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF TEXAS

HOUSTON DIVISION

JOHN SAIN, DAVID CUMMINGS, §

PHILLIP GULLETT, §

and DAVID WILSON, §
individually and on behalf of those similarly situated. § CIVIL ACTION NO.

§ 4:18-cv-04412

Plaintiffs, §

Vv. §

§

BRYAN COLLIER, in his official capacity, §

JAMES MCKEE, in his official capacity, §

TEXAS DEPARTMENT OF CRIMINAL JUSTICE, §

§

Defendants. §

NOTICE TO APPEAL

Notice is hereby given that John Sain, et. al., named Plaintiffs in the above named and
numbered case, hereby appeal to the United States Court of Appeals for the Fifth Circuit from
the Courts Order Docket Entry 120, MEMORANDUM OPINION AND ORDER

Entered in this Action on the 30 Day of August, 2019.
Respectfully Submitted,

Dated: September ae) 2019

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not possible because Plaintiffs are incarcerated in Texas Department of Criminal Justice,
Institutional Division, and are proceeding Pro Se in this cause. Plaintiffs will not speculate on
whether the Defendants oppose this motion.

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CERTIFICATE OF CONFERENCE

Whereby their signatures below, Plaintiffs do hereby certify/declare that a conference is

CERTIFICATE OF SERVICE

Whereby their signatures below, Plaintiffs do hereby certify/declare that true and correct

copies of the foregoing document was forwarded via U.S. First Class Mail, postage pre-paid, to
the following parties:

a.

Bryan Collier
TDCJ Executive Director
Texas Department of Criminal Justice

James McKee
Warden
O.L Luther Unit (P2)

Texas Department of Criminal Justice
c/o Bryan Collier
TDCJ Executive Director

Service was perfected to the above Defendants through their Attorneys of Record for Service:

Todd Disher

Attorney In Charge

Office of Attorney General of Texas
209 W 14", 8" Floor

Austin, TX 78701

Leah Jean O'Leary

Office of the Attorney General

Law Enforcement Defense Division
P.O. Box 12548 Capital Station
Austin, TX 78711-2548

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CERTIFICATE OF MAILING

Whereby their signatures below, Plaintiffs do hereby certify/declare that the foregoing
document was delivered to the United States Post Office for processing (U.S. First Class postage,
pre-paid).

Pursuant to Fed. R. App. P. Rule 25 (a)(2)(A)(iii), “Mailbox Rule,” Pro se documents filed
at the time they are placed in the institutional mailing system for processing. ©

INMATE DECLARATION

We, the Plaintiffs listed below, being over 18 years of age, of sound mind, capable of
making this declaration due to the facts that we: suffer from and/or experience(d) one or more of
the conditions described; attended consultations with qualified medical and other professionals;
having been trained by medical personnel to recognize and treat complications due to
illness/heat/cold; having studied materials listed under Fed. R. Civ. P. Rule 902; through our
personal observations; and due to belief and empirical knowledge that the facts stated above;
pursuant to 28 U.S.C. § 1746, do hereby declare under penalty of perjury that the foregoing is true
and correct from personal knowledge.

Executed on September 23, 2019

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Case 4:18-cv-04412 Document 127-1 Filed on 10/04/19 in TXSD Page 5of5

JOHN SAIN, Pro Se Cd: bs

TDCJ ID# 01373168

O.L. Luther Unit (P2)
1800 Luther Dr.

Navasota, TX 77868-4714

DAVID CUMMINGS, Pro Se | (AA! € or”
=o

TDCJ ID# 02153663

O.L. Luther Unit (P2)
1800 Luther Dr.
Navasota, TX 77868-4714

PHILLIP GULLETT, Pro Se Jha Date
TDCJ ID# 01672020 OF
O.L. Luther Unit (P2)
1800 Luther Dr.

Navasota, TX 77868-4714

DAVID WILSON, Pro Se
TDCJ ID# 01648044

O.L. Luther Unit (P2)
1800 Luther Dr.
Navasota, TX 77868-4714

 
